CaS€ 8-17-71200-38'[ DOC 94 Filed 01/22/18 Entered 01/22/18 15203:23

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lanuary 22, 2018
Via ECF

Honorable Alan S. Trust
United States Banl<ruptcy Judge
United States Banl<ruptcy Court
Eastem District of New York
290 Federal Plaza

Central Islip, New York l 1722

Re: In re Tanju Nurel
Case No.: 8-17-71200-ast

Dear Judge Trust:

We are counsel to 226 East Montauk Highway Corporation, the Landlord to the Debtor.
We write to respectfully request that the Court sign the proposed Order accompanying this letter
Which is being settled on notice to the Debtor’s counsel and the Office of the United States
Trustee. The proposed Order would clarify that the prior Order of this Court vacating the
automatic Stay accorded the Debtor to allow the Southampton Justice Court to issue a warrant of
eviction and judgment of possession (in addition to a money judgment representing the rent and
additional rent due the Landlord pre-petition) allows the Landlord to immediately execute upon
the Warrant of eviction and judgment of possession issued by the Justice Court “Without stay”
and evict the Debtor from the subject premises This request is based upon the admission set
forth in paragraph 37 of the Debtor’s Motion to Disrniss his bankruptcy case filed on
January 17th (Docket 92) admitting that he “has insignificant [sic- should be ‘insufficient’]
funds to pay the Cure Amount and assume the lease”. The “Cure Amount” determined by the
Southampton Justice Court was $392,031.35. A true copy of the l\/Ioney Judgment and Judgment
of Possession and the Warrant of Eviction issued by the Southampton Justice Court is attached to
this letter.

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Since the Debtor’s motion to dismiss and the admission that the Debtor cannot pay the
Cure Amount to assume the lease upon which it is based renders the Debtor’s motion to assume
the lease a nullity whose continuation would be legally frivolous, the Landlord also requests that
the Court extend the parties’ time to comply with the Contested Matter Scheduling Order it
issued (Docket 80) relating to the Motion to Assume that requires the parties to expend
significant time (and money) to prepare trial testimony by affidavits, exchanging trial exhibits
etc. if the Debtor does not immediately confirm that the motion to assume the lease is being
withdrawn as moot in light of the motion to dismiss this case in response to this filing
ubmitted,

R p€}:tfully s

        
 

TJ M:dlf Thomas J . McGowan

cc: Alf`red M. Dimino, Esq.
Cooper Macco, Esq.
(Via email)

